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IN THE UNITED STATES DISTRICT COURT L ' n 7 null
FOR THE WESTERN DISTRICT 0F TENNESSEE r,:. § irl r
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SHEREE MCKINLEY

ORDER REVOKING BOND

 

This cause came on to be heard on JUNE 15, 2005 on the motion of the United States to revoke defendant’s bond.
After hearing the proof
presented and argument of counsel, the Couit, pursuant to 18 U.S.C. § 3148:

(l) finds that there is _

[ ] Probable cause to believe that the person has committed a Federal, State, or local crime while on
release; and/or

[ ] Clear and convincing evidence that the person has violated any other condition of release; and
(2) finds that there is _

[ ] Based on the factors set forth in section 3142(g) of this title, there is no condition
or combination of conditions of release that will assure that the person will not flee or pose a
danger to the safety or any other person or the community; andjor

[ ] The person is unlikely to abide by any condition or combination of conditions of release.
\/(3) Defendant waives detention hearing
/"'_i
Based on these tindings, it is hereby ordered that defendant's bond is REVOKED.
DIRECTIONS REGARDING DETENTION

SHEREE MCKINLEY is committed to the custody of the Attorney General or his designated
representative for confinement in a corrections facility separate, to the extent practicable, from persons awaiting or
serving sentences or being held in custody pending appeal. SHEREE MCKINLEY shall be afforded a reasonable
opportunity for private consultation with defense counsel. On order of a Court of the United States or on request of
an attorney for the government, the person in charge of the corrections facility shall deliver the Defendant to the

United States marshal for the purpose of an appearance in connection with a Court proceeding

IT IS S() ORDERED THIS 15TH DAY OF JUNE, 2005 .

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 212 in
case 2:94-CR-20276 Was distributed by faX, mail, or direct printing on
June 16, 2005 to the parties listed.

 

 

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Honorable J. Breen
US DISTRICT COURT

